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5    Attorney for Defendant
     BOB AN
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7
                                        UNITED STATES DISTRICT COURT
8
                                   EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                    )       CASE NO.: CASE NO.: 10-cr-168 JAM
11                                                )
                           Plaintiff,             )
12                                                )       STIPULATION AND
                                                  )       ORDER CONTINUING SENTENCING
13   v.                                           )       FROM APRIL 9, 2013 TO APRIL 30, 2013
                                                  )
14   BOB AN,                                      )
                                                  )
15                         Defendant,             )
                                                  )
16
17          The United States of America, through its counsels of record, Benjamin B. Wagner, United States
18   Attorney for the Eastern District of California, and Todd Leras, Assistant United States Attorney, and
19   defendant Bob An, through his attorney, Ronald Peters, Esq, hereby stipulate and agree that the judgment
20   and sentencing hearing scheduled for April 9, 2013, at 9:45 am should be continued to April 30, 2013 at
21   9:45 a.m.
22          The defendant requires additional time to address issues relating to safety vale eligibility
23          Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
24   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that time be
25   excluded under this provision from April 9, 2013, to and including April 30, 2013.
26   ///
27   ///
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1    DATE: April 4, 2013                            Respectfully Submitted,
2                                                   BENJAMIN B. WAGNER
                                                    United States Attorney
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4
5    DATE: April 4, 2013                            /s/ Todd Leras
                                                    ____________________________
6                                                   TODD LERAS
                                                    Assistant U.S. Attorney
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8
     DATE: April 4, 2013                            /s/Ron Peters
9                                                   RON PETERS
                                                    Attorney for Defendant
10                                                  Bob An

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1                           ORDER FINDING EXCUSABLE TIME
2           For the reasons set forth in the accompanying stipulation and declaration of counsel,
3    the status conference in the above-entitled action is continued to April 9, 2013 at 9:45 a.m.
4    The court finds excusable time in this matter from April 9, 2013 through April 30, 2013
5    under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and
6    to allow reasonable time necessary for effective presentation. For the reasons stipulated by
7    the parties, the Court finds that the interest of justice served by granting the requested
8    continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
9    U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
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11          IT IS SO ORDERED
12
13   Date: 4/4/2013                                                 /s/ John A. Mendez
14                                                                  JOHN A. MENDEZ
                                                                    United States District Court Judge
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